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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:08CR226
                              )
          v.                  )
                              )
BRUCE BALDWIN,                )                      ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue dispositional hearing (Filing No. 98).              The Court

notes plaintiff has no objection and finds the motion should be

granted.   Accordingly,

           IT IS ORDERED that defendant’s motion is granted.                The

hearing on the petition for warrant or summons for offender under

supervision (Filing No. 80) and the amended petition for warrant

or summons for offender under supervision (Filing No. 85) is

rescheduled for:

                Wednesday, January 15, 2014, at 9:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           DATED this 3rd day of October, 2013.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
